                 Case 6:14-cv-01073-MC                                  Document 53              Filed 07/22/15     Page 1 of 6




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                                        UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF OREGON – EUGENE DIVISION


  VITEK CONSTRUCTION, LLC, an Oregon                                                        No. 6:14-cv-01073-MC
  Limited Liability Company;
                                                                                            STIPULATED MOTION FOR STAY
                                           Plaintiff,                                       AND [PROPOSED] ORDER

               v.

  NAVIGATORS INSURANCE COMPANY,
  a foreign insurer;

                                         Defendant,


NAVIGATORS INSURANCE COMPANY, a
foreign insurer;

                                         Counterclaimant

                           v.

VITEK CONSTRUCTION, LLC, an Oregon
Limited Liability Company;

                                        Counterclaim Defendant.




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                 Case 6:14-cv-01073-MC                                  Document 53              Filed 07/22/15    Page 2 of 6




NAVIGATORS INSURANCE COMPANY, a
foreign insurer;

                                         Third Party Plaintiff
v.

ALPHA-C, INC. a/k/a ISE PROPERTIES,
INC. d/b/a WEST COAST INN, an Oregon
Corporation; XL SPECIALTY INSURANCE
COMPANY, a Delaware Corporation.

                                         Third Party Defendants

                                                         I.            STIPULATED MOTION

             The parties to this action, Vitek Construction, LLC (“Vitek”), Navigators Insurance

Company (“Navigators”), Alpha-C, Inc., a/k/a ISE Properties, Inc. d/b/a West Coast Inn

(“Alpha-C”), and XL Specialty Insurance Company (“XL Specialty”) (collectively, the

“Parties”), through their respective counsel, hereby submit the following Stipulated Motion for

Stay. The Parties stipulate and jointly move the Court for an Order to stay the instant matter

until August 18, 2015.

             A.            Current Status

             In the instant matter, the Parties are engaged in substantial efforts to settle all claims in

this matter and in the underlying matter. A mediation occurred on July 8, 2015. During that

mediation, all claims in the underlying lawsuit and the coverage action involving Alpha-C were

resolved. The Parties anticipate finalizing the Alpha-C settlement shortly. With regard to all

claims involving Vitek and XL Specialty, the Parties believe that final resolution of all claims,

including the XL Specialty claims, may be achieved shortly. Some of the Parties are requesting

this stay in order to avoid incurring costs that could impede settlement efforts.




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                                                                                                         P: (206) 467-5444 F: (206) 467-5544
                 Case 6:14-cv-01073-MC                                  Document 53              Filed 07/22/15    Page 3 of 6




             Navigators has recently filed a Motion for Leave to Amend [Dkt. 50] and a Motion for

Summary Judgment [Dkt. 47]. Any response to Navigators’ Motion for Leave to Amend is

currently due on July 24, 2015 and any response to Navigators’ Motion for Summary Judgment

is currently due on July 31, 2015. Additionally, the Parties are currently required to finish

discovery by August 15, 2015, submit their expert disclosures by August 31, 2015, and file any

dispositive motions by September 8, 2015. [Dkt. 45].

             A stay in this matter will allow the Parties to attempt to continue negotiations while

avoiding potentially unnecessary expenses and judicial resources. If this matter does not resolve

by August 18, 2015, the Parties have further agreed to submit an updated joint status report to

the Court, proposing new deadlines for the case.

             B.            Legal Standard

             Regarding a motion to stay, a district court has the inherent power to control its own

docket and calendar. Cedano v. Thrifty Payless, Inc., 2011 U.S. Dist. LEXIS 155956, 13, 2011

WL 8609402 (D. Or. May 9, 2011) (citing Mediterranean Enters., Inc. v. Ssangyong Corp., 708

F.2d 1458, 1465 (9th Cir. 1983)); see also Fed. R. Civ. P. 16. The interests the district court

should weigh in determining whether to exercise its discretion to stay the proceedings include:

                           [T]he possible damage which may result from the granting of a
                           stay, the hardship or inequity which a party may suffer in being
                           required to go forward, and the orderly course of justice measured
                           in terms of simplifying or complicating issues, proof, and
                           questions of law which could be expected from a stay.

CMAX, Inc. v. Hall, 300 F.2d 265, 268 (9th Cir. 1962). “Courts have interpreted the third factor

as a question of judicial economy.” Cedano, 2011 U.S. Dist. LEXIS 155956, 14, 2011 WL

8609402 (citations omitted).

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                 Case 6:14-cv-01073-MC                                  Document 53                  Filed 07/22/15     Page 4 of 6




             C.            Analysis

             In weighing the first two factors to determine whether the Court should stay the present

matter, the Parties agree that there is no damage, hardship, or inequity that any of the Parties

will suffer if the Court grants this short stay. The third factor, a question of judicial economy,

also weighs in favor of the Court granting the stay since it will give the Parties an opportunity to

resolve this matter without expending any further judicial resources. The factors all weigh in

favor of the Court exercising its discretion to stay this matter until August 18, 2015.

             D.            Conclusion

             Based on the foregoing, the Parties respectfully request that the Court grant the Parties’

Stipulated Motion to Stay and enter an order staying the matter until August 18, 2015. A

proposed order granting the Parties’ stipulated motion is submitted herewith for the Court’s

consideration.


             DATED: July 22, 2015
                                                                                                 LETHER & ASSOCIATES, PLLC

                                                                                                 /s/ Thomas Lether
                                                                                                 /s/ Eric J. Neal
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                                                                                                              P: (206) 467-5444 F: (206) 467-5544
                 Case 6:14-cv-01073-MC                                  Document 53                  Filed 07/22/15     Page 5 of 6




             DATED: July 22, 2015
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             DATED: July 22, 2015
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                                                                                                 /s/ Daniel L. Duyck
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             DATED: July 22, 2015
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                                                                                                              P: (206) 467-5444 F: (206) 467-5544
                 Case 6:14-cv-01073-MC                                  Document 53                Filed 07/22/15    Page 6 of 6




                                                             II.           PROPOSED ORDER

             THE COURT, having reviewed and considered the Parties’ Stipulated Motion to Stay,

hereby orders that this matter is hereby STAYED. The clerk is directed to remove all pleading

deadlines and actions from the calendar until August 18, 2015. Should this matter not resolve by

August 18, 2015, the Parties shall submit an updated joint status report to the Court for

consideration.

             SIGNED this _____ day of July, 2015.




                                                                                                 JUDGE MICHAEL J. MCSHANE




                                                                                                              LETHER & ASSOCIATES PLLC.
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